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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

BRUNSWICKDNIsIoN CRZ '| 9 _ 00 ‘] 5

UNITED STATES OF AMERICA ) INFORMATION NO.
)
v. ) 18 U.S.C. § 13 ;_
) Assimilative Crimes m;:_i §; _`~§
HENRY WATSON ) j ~T-,l
) o.c.G.A. § 16-6.8 5;.-;|' §
) ._"{ -"..H

 

Public Indecency
c 3 '-;j ;.__ .. __
»»JEK 51
THE UNITED STATES ATTORNEY CHARGES THAT: §

COUNT ONE
Assim£lative Crimes (Pu,blic Indecency)
18 U.S.C. § 13, O.C.G.A. § 16-6-8

 

On or about October 26, 2018, in Wayne County, Within the Southern District
of Georgia, the defendant,
HENRY WATSON,
at the Federal Correctional Institution Jesup, which is located on land acquired for
the use of the United States and under the concurrent jurisdiction thereof, did commit
the offense of public indecency by lewdly exposing his sexual organs in a nublic place

All in violation ofTitle 18, United States Code, Section 13 and OHicial Code of

Georgia Annotated Section 16-6-8.

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COUNT TWO
Assimilative Cr£mes (Public Indecency)
18 U.S.C. § 13, O.C.G.A. § 16-6-8
On or about January 8, 2019, in Wayne County, Witliin the Southern District
of Georgia, the defendant,

HEN'RY WATSON,

at the Federal Correctional Institution Jesup, Which is located on land acquired for
the use of the United States and under the concurrent jurisdiction thereof, did commit
the offense of public indecency by lewdly exposing his sexual organs in a public place.

A.ll in Violation ofTitle 18, United States Code, Section 13 and Ochial Code of

Geor ia otated Section 16-6-8.

 

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Brian T. RaH`erty
Assistant United States Attorney
Chief, Criminal Division

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Ma cela C. Mateo\_)&
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*Lead Counsel

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FC-Q Kall;elyn Senlialesl""'/}c`h-_FMl
Special Assistant United States Attorney
*Co-lead Counsel

 

